Case 1:23-cv-00370-HSO- BWR BWER chek 4 12/28/23 Page 1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
1: 9Sev370 HSd- BUR

JS 44 (Rev. 04/21)

I. (a) PLAINTIFFS DEFENDANTS
Catina Washington BURL CAIN, ETAL

(b) County of Residence of First Listed Plaintiff George, County MS _

(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant

(IN U.S. PLAINTIF)
IN LAND CONDEMNATION CASES, US as YPSIGSIPPI
THE TRACT OF LAND INVOLVED.

Attorneys (/f Known)
DEC 28 2023

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) by aX \z Qi\

Pro Se Q. Pr \N5

Luce Aue, 1 V SORYSL ORTON
II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTTES haem LEE Rlainsiff
(For Diversity Cases Only) and One Box for Defendant)
[st | U.S. Government my Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State []1 [] 1 Incorporated or Principal Place L]l4 (4
of Business In This State
Cc 2 U.S. Government 4 Diversity Citizen of Another State C] 2 C] 2 Incorporated and Principal Place CL] 5 C] 5
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a [-]3  [_] 3. Foreign Nation [is [Je
Foreign Country |
IV. NATURE OF SUIT (piace an “x” in One Box Only) Click here for: (Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | ]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [=] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 372%a))
140 Negotiable Instrument Liability C] 367 Health Care/ INTELLECTUAL 400 State Reapportionment
|__| 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS |_| 410 Antitrust
& Enforcement stan Slander Personal Injury T | 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers" Product Liability | 830 Patent 450 Commerce
- 152 Recovery of Defaulted Liability C 368 Asbestos Personal - 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
LJ 160 Stockholders’ Suits 355 Motor Vehicle = 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [| 380 Other Personal | _}720 Labor/Management SOCIAL SECURITY Protection Act
[| 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) |_| 490 Cable/Sat TV
CI 196 Franchise Injury LC] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securitics/Commodities/
|_| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation | | 865 RSI (405(g)) | 891 Agricultural Acts
|_| 210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
|_| 220 Foreclosure 441 Voting |_| 463 Alien Detainee Income Security Act Ee 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate |_| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations |_| 530 General |] 871 IRS—Third Party H 899 Administrative Procedure

{_]290 All Other Real Property

445 Amer. w/Disabilities -

| | 535 Death Penalty
Other:

IMMIGRATION 26 USC 7609

462 Naturalization Application

Act/Review or Appeal of
Agency Decision

Employment

446 Amer. w/Disabilities -
Other

7) 448 Education

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

:

|_| 950 Constitutionality of
State Statutes

465 Other Immigration
Actions

V. ORIGIN (Place an “X” in One Box Only)
[] | Original 2 Removed from
Proceeding State Court

8 Multidistrict
Litigation -
Direct File

6 Multidistrict
Litigation -
Transfer

3. Remanded from

ci4 Reinstated or CO 5 Transferred from
Appellate Court

Reopened Another District
(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
1983, 1985, USC 241
Brief description of cause:
Former MDOC Employee assaulted by inmate all parties failed to prosecute or protect state & federal rights. Irreparable harm.

{_] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only ee in complaint:
Yes

VI. CAUSE OF ACTION

VII. REQUESTED IN

COMPLAINT: UNDER RULE 23, F.R-Cv.P. JURY DEMAND: []No
VII. RELATED CASE(S)
IF ANY (See instruction)’ UGE DOCKET NUMBER
DATE SIGNATURE OF A RNEY/OF RECORD
[1-28-24 ( A
FOR OFFICE USE ONLY eee Ver
RECEIPT # [ is. { g _ AMOUNT i Ly 0S.00 APPLYING IFP { JUDGE MAG. JUDGE

